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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF FLORIDA

 Howard Crosby,
                            Plaintiff,
       v.                                           Case No. 8:21-cv-02730-SDM-CPT
 Lloyd Austin, III., in his official capacity as
 Secretary of Defense, et al.,
                            Defendants.


 DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR ENTRY OF
    PARTIAL FINAL JUDGMENT AND RULE 54(b) CERTIFICATION

       Plaintiff Sergeant Major Howard Crosby Jr. has moved for the entry of partial

 final judgment, pursuant to Rule 54(b) of the Federal Rules of Civil Procedure, see ECF

 No. 69, so that he may immediately appeal the Court’s dismissal of his Administrative

 Procedure Act (“APA”) claims. Crosby asks the Court to find that entry of final

 judgment on the APA claims is warranted because the APA claims are separable from

 the remaining Religious Freedom Restoration Act (“RFRA”) and Free Exercise

 Clause claims and there is no just reason for delay. ECF No. 69 at 5-18.

       The Government obviously favors the ultimate entry of final judgment for the

 Defendants as to the claims that have been dismissed. But the question posed by

 Crosby’s motion is not whether final judgment should be entered as to the APA claims,

 but when. Each of Crosby’s claims in the Amended Complaint seek to redress his

 speculative future discharge for not complying with the requirements of the Army’s

 longstanding immunization program, which now includes the COVID-19 vaccine.

 Not all of those claims have been finally resolved. The better reading of applicable

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 authority weighs against entry of partial final judgment in the circumstances of this

 case.

         Rule 54(b) must be applied in a manner that effectively preserves “the historic

 federal policy against piecemeal appeals.” Curtiss-Wright Corp. v. Gen. Electric Co., 446

 U.S. 1, 8 (1980) (citation omitted). In particular, “Rule 54(b) certifications ‘must be

 reserved for the unusual case in which the costs and risks of multiplying the number

 of proceedings and of overcrowding the appellate docket are outbalanced by pressing

 needs of the litigants for an early and separate judgment as to some claims or parties.’”

 Ebrahimi v. City of Huntsville Bd. of Educ., 114 F.3d 162, 166 (11th Cir. 1997) (quoting

 Morrison-Knudsen Co. v. Archer, 655 F.2d 962, 965 (9th Cir. 1981)). “[S]uch

 circumstances will be encountered only rarely” and the Eleventh Circuit has

 “counseled district courts to exercise the limited discretion afforded by Rule 54(b)

 conservatively.” Id. Because Crosby has not demonstrated that the dismissed and

 remaining claims satisfy the separate-recoveries test and because there are no equities

 overcoming the historic policy against piecemeal appeals, the Court should deny the

 motion.

                                   BACKGROUND

    I. Crosby’s Noncompliance with Army Immunization Requirements and
       Informal Requests for a “BLA-Complaint Lot” of a COVID-19 Vaccine

         Sergeant Major Howard Crosby Jr. is a noncommissioned officer in the U.S.

 Army Reserve Individual Mobilization Augmentation program and “subject to

 immediate, involuntary order to active duty by the President or Congress.” ECF No.


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 15-33 ¶¶ 2- 3. On October 12, 2021—nearly two months after Secretary Austin directed

 that the COVID-19 vaccination be included among required vaccinations for military

 Service members—Crosby’s commander counseled him regarding the requirement. Id.

 ¶ 5. Afterward, Crosby stated in writing that he disagreed with the information

 because, in his view, he was being ordered to take a vaccination that was under an

 Emergency Use Authorization (“EUA”). Id. 1

        On August 23, 2021, the FDA approved a Biologics License Application

 (“BLA”) for the Pfizer vaccine, for individuals who are 16 years of age and older. ECF

 No. 1-4. A BLA is an application for approval to introduce, or deliver for introduction,

 a biologic product into interstate commerce. 21 C.F.R. § 601.2. 2 “Comirnaty” 3 is also

 available under an EUA for the approved and other uses. At the time of approval, the

 FDA worked with Pfizer to identify “BLA-compliant” lots of the vaccine, which are

 lots of the vaccine that were manufactured in facilities listed in the BLA and that had

 undergone lot release, but which bore the EUA label. ECF No. 1-4 at 27. The FDA

 additionally determined that the approved and EUA vaccine could be used

 interchangeably     without    presenting    any    safety   or   effectiveness   concerns.

        1
           Service members may comply with current immunization requirements with respect to
 COVID-19 by taking a vaccine that has received “full licensure from the Food and Drug
 Administration (FDA), in accordance with FDA-approved labeling and guidance” or by taking a
 vaccine “under FDA Emergency Use Authorization or World Health Organization Emergency Use
 Listing in accordance with applicable dosage requirements[.]” ECF No. 1-2.
        2
           See FDA, Biologics License Applications (BLA) Process (CBER) (Jan. 27, 2021),
 https://www.fda.gov/vaccines-blood-biologics/development-approval-process-cber/biologics-
 license-applications-bla-process-cber.
        3
        “Comirnaty” is the proprietary name of a COVID-19 vaccine manufactured by Pfizer, Inc.
 ECF No. 1-3.

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 https://www.fda.gov/media/150386/download, at 3 n.15. On January 31, 2022, the

 FDA approved a second COVID-19 vaccine, Spikevax, manufactured by

 ModernaTX, Inc. https://www.fda.gov/media/155815/download.

       On November 15, 2021, Crosby requested “Comirnaty” from an Army clinic at

 Fort Sill, Oklahoma. Supp. Declaration of SGM Howard A. Crosby Jr., ECF No. 25-

 1 at 8-20 (“Crosby Decl.”) ¶ 5(f). In requesting the “Comirnaty” vaccine, Crosby

 provided military clinics “with the lot numbers that were stated as BLA compliant[.]”

 Id. On the same date, Crosby submitted a religious exemption request. ECF No. 15-

 33 ¶ 6. Two days later, Crosby went to a clinic at MacDill Air Force Base, again asking

 for “a BLA compliant lot[.]” Crosby Decl. ¶ 5(f). Finally, on January 13, 2022, Crosby

 once more visited MacDill Air Force Base and “asked for Comirnaty[,]” specifically

 “ask[ing] for the lot number.” Id. Although Crosby has requested “a BLA-compliant

 lot” from military clinics three times, Crosby has never requested such a dose using a

 formal avenue of military redress. After the Court’s preliminary injunction hearing,

 Defendants informed Crosby that the Army would make one of the doses he has

 requested available to him if he submits a memorandum to his commander electing to

 receive one. ECF No. 45 ¶ 2.

    II. 10 U.S.C. § 1107a

       10 U.S.C. § 1107a makes no mention of religious, political, or philosophical

 objections to any medial product. It provides that “[i]n the case of the administration

 of [an EUA] product . . . to members of the armed forces, the condition described in”

 the Food, Drug and Cosmetic Act (“FDCA”), 21 U.S.C. § 360bbb-3, “designed to

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 ensure that individuals are informed of an option to accept or refuse administration of

 a product, may be waived only by the President if the President determines, in writing,

 that complying with such requirement is not in the interests of national security.” 10

 U.S.C. § 1107a(a). A comprehensive analysis of the FDCA provision and its cognate

 provisions, § 1107a, is available in a 2021 Office of Legal Counsel opinion. 4

 III.   Procedural History

        On November 19, 2021, Crosby and sixteen other service members filed a

 complaint 5 challenging what they refer to as the “DoD Mandate” which includes

 Secretary Austin’s August 2021 Memorandum adding the COVID-19 vaccine to the

 list of those required for Service members to be ready to defend the United States and

 fit for military service. ECF No. 1. The Complaint alleged that Crosby “is willing to

 take the FDA-licensed Comirnaty vaccine, but not the EUA BioNTech Vaccine.” ECF

 No. 1 ¶ 12.

        On December 13, 2021, Crosby filed a motion for preliminary injunctive relief.

 ECF No. 10. Although other former plaintiffs claimed a substantial likelihood of

 success on RFRA and Free Exercise Clause grounds, Crosby did not. See id. at 7-8

 (stating that eight former plaintiffs—not including Crosby—“have sincerely held

 religious beliefs that compel them to abstain from being administered the COVID-19


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           Dep’t of Justice, WHETHER SECTION 564 OF THE [FDCA] PROHIBITS ENTITIES FROM
 REQUIRING THE USE OF A VACCINE SUBJECT TO AN [EUA], 45 Op. O.L.C. ___, slip op. (July 6,
 2021), https://www.justice.gov/olc/file/1415446/download.
        5
          Two plaintiffs later voluntarily dismissed their claims and, on February 22, 2022, the Court
 severed and dismissed all claims other than those alleged by Crosby. Crosby v. Austin, No. 8:21-cv-
 2730, 2022 WL 603784, at *1 n.1 (M.D. Fla. Mar. 1, 2022).

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 vaccine”). Instead, Crosby claimed a substantial likelihood of success on his claim that

 Secretary’s decision to add COVID-19 to the list of required immunizations “violate[s]

 federal laws . . . insofar as [it] mandate[s] or permit[s] the administration of the EUA

 Pfizer-BioNTech Vaccine[.]” Id. at 11.

           On February 11, 2022, the Court held a hearing on the motion for preliminary

 injunctive relief. ECF No. 34. Crosby provided testimony at the hearing about his

 “inquiries about the FDA-approved vaccine.” Tr. of Mot. Proceedings Before the Hon.

 Thomas P. Barber at 44:5-45:10. After the Court realized that Crosby’s “position is

 there are no FDA-approved vaccines” the Court instructed him to leave the witness

 stand. Id. at 46:8-15.

           On March 1, 2022, the Court issued an order denying Crosby’s preliminary

 motion, explaining that “Crosby does not allege that he was specifically denied an

 FDA-licensed dose.” Crosby v. Austin, No. 8:21-cv-2730, 2022 WL 603784, at *2 (M.D.

 Fla. Mar 1, 2022). The Court explained that “Defendants indicated that they believed

 that Comirnaty was available and that . . . the military would be able to make sure he

 gets the proper vial.” Id. at *2 n.3. After the decision, Defendants informed Crosby

 that the Army would make one of the doses he has informally requested available to

 him if he submits a memorandum to his commander electing to receive one. ECF No.

 45 ¶ 2.

           After Crosby declined to request Comirnaty from his command, Defendants

 filed a motion to dismiss the Complaint. ECF No. 54. In response, on May 18, 2022,

 Crosby filed an Amended Complaint that removed his prior allegation that he is

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 willing to receive Comirnaty. In its place, Crosby alleges that he has “sincerely held

 religious beliefs that compel him to oppose the mandate” including a “firmly held

 religious belief that these vaccines are being used to bring on the mark of the beast, if

 they are not the mark of the beast themselves.” ECF No. 58 ¶ 45. Along with the

 Amended Complaint, Crosby submitted an additional sworn declaration attesting that

 his religious objection is not his “main complaint[.]” ECF No. 58-1 ¶ 5(h). Instead, his

 “main complaint is that the licensed and labeled vaccine is not available and they are

 administering a vaccine that is still under EUA.” Id.

        Among other relief, the Amended Complaint seeks an order enjoining “the

 implementation or enforcement of the DoD Mandate by the Defendants with respect

 to the Plaintiff.” Am. Compl. Relief Requested. The four-count Amended Complaint

 attempts to plead claims under the Administrative Procedure Act, id. ¶¶ 51-69; 6 under

 the Religious Freedom Restoration Act, id. ¶¶ 62-69, and under the Free Exercise

 Clause of the First Amendment to the United States Constitution, id. ¶¶ 70-94.

        On June 24, 2022, the Court issued an order on Defendants’ motion to dismiss.

 ECF No. 63. The Court dismissed all claims “other than Plaintiff Howard Crosby’s

 religious objections[.]” Id. at 2. The Honorable Judge Thomas P. Barber also

 transferred the case to this Court, “as it appears related to a pending class action




        6
          The APA claims involve 10 U.S.C. § 1107a and the APA’s proscription of arbitrary and
 capricious final agency action. Am. Compl. ¶¶ 51-69. The Amended Complaint indicates that the
 10 U.S.C. § 1107a issue is “brought under the APA.” Id. ¶ 56.


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 lawsuit before his Honor." Id. 7 On July 8, 2022, Defendants filed an Answer. ECF No.

 65. On August 15, 2022, the parties filed a case management report. ECF No. 68. The

 following day, Crosby filed the pending motion for entry of final judgment and Rule

 54(b) certification. ECF No. 69.

                                           ARGUMENT

 I.     Rule 54(b) Must be Applied to Preserve the Historic Policy Against
        Piecemeal Appeals.

        Rule 54(b) provides that

        [w]hen an action presents more than one claim for relief—whether as a
        claim, counterclaim, crossclaim, or third-party claim—or when multiple
        parties are involved, the court may direct entry of a final judgment as to
        one or more, but fewer than all, claims or parties only if the court
        expressly determines that there is no just reason for delay.

 See Fed. R. Civ P. 54(b). The Supreme Court set out a framework for applying the rule

 in Sears, Roebuck & Co. v. Mackey, 351 U.S. 427 (1956), which it repeated in Curtiss-

 Wright, 446 U.S. at 7-10. See Lloyd Noland Found., Inc. v. Tenet Health Care Corp., 483

 F.3d 773, 777-78 (11th Cir. 2007).

        “A district court must follow a two-step analysis in determining whether a

 partial final judgment may properly be certified under Rule 54(b).” Lloyd Noland, 483

 F.3d at 777. A district court must first determine that it has rendered a “final


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          At the time of the order, no relevant class action was pending before this Court. On August
 18, 2022, this Court certified a class comprising certain persons who serve under the command of the
 Marine Corps who submitted certain religious accommodation requests. Order Certifying Class and
 Issuing Classwide Prelim. Inj., Colonel Fin. Mgmt. Officer v. Austin, No. 8:22-cv-01275, ECF No. 229 at
 47 (M.D. Fla. Aug. 18, 2022). Crosby is not a member of the class. A lawsuit brought by three Soldiers
 in the United States Army raising claims under RFRA related to Army’s immunization program has
 been dismissed. Colonel v. Austin, No. 8:22-cv-1277, ECF No. 195 (M.D. Fla. July 5, 2022). No class
 had been certified in that matter.

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 judgment,” that is, a judgment that is “‘an ultimate disposition of an individual claim

 entered in the course of a multiple claims action’” and a “‘judgment’ in the sense that

 it is a decision upon a cognizable claim for relief.” Curtiss-Wright, 446 U.S. at 7

 (quoting Mackey, 351 U.S. at 436); see also Lloyd Noland, 483 F.3d 773. Once having

 found finality, the district court must go on to determine whether there is any just

 reason for delay. Curtiss-Wright, 446 U.S. at 8. The function of the district court at step

 two is to act as a “dispatcher” exercising sound judicial discretion to determine the

 “appropriate time” when each final decision in a multiple claims action is ready for

 appeal. Id. (quoting Mackey, 351 U.S. at 435, 437). This “limited discretion[,]”

 Ebrahimi, 114 F.3d at 166, is to be exercised “in the interest of sound judicial

 administration” in order “to assure that application of the Rule effectively ‘preserves

 the historic federal policy against piecemeal appeals[,]’” Curtiss-Wright, 446 U.S. at 8

 (quoting Mackey, 351 U.S. at 437, 438).

 II.   Crosby Has Not Established that His Claims Are “Final” Within the
       Meaning of Rule 54(b) Because the Claims that Have Been Disposed of Are
       Not Separable.

       “A district court has the discretion to certify a judgment for immediate appeal

 only when it is ‘final’ within the meaning of Rule 54(b), which means that the

 judgment disposes entirely of a separable claim or dismisses a party entirely.” In re Se.

 Banking Corp., 69 F.3d 1539, 1547 (11th Cir. 1995). “[T]he touchstone for determining

 whether an entire ‘claim’ has been adjudicated for the purposes of Rule 54(b) is

 whether that claim is ‘separately enforceable’ without ‘mutually exclu[ding]’ or



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 ‘substantially overlap[ping]’ with remedies being sought by the remaining claims

 pending in the district court.” Lloyd Noland, 483 F.3d at 780 (quoting In re Se. Banking

 Corp., 69 F.3d at 1547).

        When courts “consider whether claims are separate, [courts] keep in mind the

 purpose and practical implications of Rule 54(b).” In re Se. Banking Corp., 69 F.3d at

 1547. “It will be a rare case where Rule 54(b) can appropriately be applied when the

 contestants on appeal remain, simultaneously, contestants below.” Spiegel v. Trustees of

 Tufts Coll., 843 F.2d 38, 44 (1st Cir. 1988).

        In this case, Crosby seeks only prospective declaratory and injunctive relief.

 Am. Compl. Relief Requested. For example, among other relief, he requests that the

 Court permanently “[e]njoin the implementation of enforcement of the DoD Mandate

 by the Defendants with respect to the Plaintiff[,]” id., which corresponds with the

 inherently individualized nature of the remaining Religious Freedom Restoration Act

 claim, 8 see Smith v. Owens, 14 F.4th 1319, 1328 (11th Cir. 2021) (quoting Tucker v.

 Collier, 906 F.3d 295, 301 (5th Cir. 2018)) (explaining that RLUIPA, like RFRA,

 “mandates” that the district court conduct “an individualized inquiry”).




        8
           Defendants maintain that declaratory or injunctive relief interfering directly with ongoing
 “disciplinary or executive functions of the armed services” is not appropriate relief under RFRA. See
 McCurdy v. Zuckert, 359 F.2d 491, 495 n.6 (5th Cir. 1966). Rather, “any possible injury could be
 repaired” by a petition to the Army Board for Correction of Military Records. See id. at 494. “Board
 decisions are subject to judicial review and can be set aside” if the Army has violated RFRA as
 appropriate relief for a RFRA violation. Chappell v. Wallace, 462 U.S. 296, 303 (1983). “[A] major
 departure from the long tradition of equity practice should not be lightly implied.” eBay, Inc. v.
 MercExchange, LLC, 547 U.S. 388, 391 (2006) (citation omitted).


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        Crosby contends that the dismissed claims are separable from the remaining

 claims because the dismissed claims challenge “the DoD Mandate itself” 9 while the

 remaining claims relate to his efforts to seek an exemption from that policy based on

 his claim that the policy substantially burdens a sincere religious belief of his. ECF No.

 69 at 5-8. Crosby also contends that the dismissed counts and remaining counts require

 distinct evidence and discovery. Id. at 12-13. But assuming that Crosby is challenging

 different agency actions and that the record for one set of counts would not be relevant

 to the others, 10 Crosby cites no authority indicating that these issues are relevant to

 determining whether an entire claim has been adjudicated for purposes of Rule 54(b)

 in this circuit. Rather, “the touchstone for determining whether an entire ‘claim’ has

 been adjudicated for the purposes of Rule 54(b) is whether that claim is ‘separately

 enforceable’ without ‘mutually exclu[ding]’ or ‘substantially overlap[ping] with

 remedies being sought by the remaining claims[.]” Lloyd Noland Found., 483 F.3d at

 780 (citation omitted).

        Application of that standard here indicates that an entire separable claim for

 relief has not been adjudicated. Given the prospective nature of the remedies Crosby

 prays for in the Amended Complaint, an injunction precluding the Army from

 separating Crosby would moot his interest in appellate review of his dismissed APA

 claims. See Lloyd Noland Found., 483 F.3d at 780; Spiegel, 843 F.2d at 44-45 (Rule 54(b)


        9
         It is far from clear what, specifically, Crosby refers to when he says the “DoD Mandate.”
 See ECF No. 60 at 22-24.
        10
             Defendants do not concede these points.

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 certification improper where certified claims “would be largely (if not entirely) mooted

 and the need for appellate review would vanish” after an order associated with claim

 that “remains pending for trial in the district court[.]”).

        Crosby contends that it “would not be ‘mutually exclusive’” to raise separate

 legal arguments in support of the requested declaratory and injunctive relief. ECF No.

 69 at 8 (citation omitted). But “mere variations of legal theory do not constitute

 separate claims[.]” Local P-171, Amalgamated Meat Cutters & Butcher Workmen of N. Am.

 v. Thompson Farms Co., 642 F.2d 1065, 1071 (7th Cir. 1981). “[W]hen the plaintiff

 presents more than one legal theory, but will be permitted to recover on only one of

 them[,] . . . there is only a single inseparable claim for relief.” Lloyd Nolan Found., 483

 F.3d at 780 (quoting In re Se. Banking Corp., 69 F.3d at 1547).

        In sum, if the Government were to prevail on the remaining RFRA claim, the

 Court of Appeals would consider the denial of relief redressing the same speculative

 future injury – albeit on different grounds. And, notably, a favorable disposition for

 Crosby on his remaining claims—including entry of the requested injunction in the

 Amended Complaint’s Prayer for Relief—would leave him “with no reason to press

 the [APA] one[s]” that he seeks to appeal now. See Seatrain Shipbuilding Corp. v. Shell

 Oil Co., 444 U.S. 572, 581 n.18 (1980) (cited in In re Se. Banking, 69 F.3d at 1547); see

 also In re Se. Banking, 69 F.3d at 1550 (Rule 54(b) certification proper where “review of

 the[] adjudicated claims would not be mooted by any future developments in the

 case”) (describing Curtiss-Wright, 446 U.S. at 6-7). Because the requested injunction, if

 entered, would redress his speculative future discharge, the APA claims that Crosby

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 seeks to certify for final judgment would be moot. See Spiegel, 843 F.2d at 44. In that

 circumstance, Crosby’s cannot separately enforce his APA claim because he would

 have no interest in any order addressing any aspect of an immunization program with

 which he would be exempt from complying. 11

          Consideration of “the practical affect [sic] of piecemeal appeal[] [here] on

 appellate court caseloads[,]” In re Se. Banking, 69 F.3d at 1550, cautions against

 certification as well. Consider the matter from the point of view of the Court of

 Appeals. If the Court certifies Crosby’s dismissed APA claims under Rule 54(b), the

 Eleventh Circuit may well have to address his efforts to redress his speculative future

 discharge twice. If Crosby succeeds on his remaining claims—including obtaining the

 individualized injunction requested in the Amended Complaint—however, he will

 have no interest in pressing the dismissed claims. Thus, issuing a Rule 54(b)

 certification at this stage on these interrelated claims would rob the Appellate Court of

 the option of finding “it unnecessary to address [Crosby’s dismissed APA claims] on

 the ground that” it might affirm an injunction precluding his discharge on RFRA or

 Free Exercise Clause grounds. See Jordan v. Pugh, 425 F.3d 820, 828-29 (10th Cir.

 2005).




          11
            Crosby asserts that relief on his RFRA claim would require the entry of a different order.
 ECF No. 69 at 9-10. While that is not so, it also largely differs from what Crosby has pleaded in his
 prayer for relief in the Amended Complaint. Am. Compl. Relief Requested. In any event, Crosby
 explicitly requests an order enjoining “the implementation or enforcement of the DOD Mandate by
 the Defendants with respect to the Plaintiff” in the Amended Complaint. Id.


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 III.   Crosby Has Not Shown that There is No Just Reason to Delay Final
        Judgment on the APA Claims.

        Even if the Court had adjudicated an entire claim for the purposes of Rule 54(b),

 Crosby has not shown that there is no just reason to delay final judgment on the APA

 claims. Deciding that issue “requires the district court to balance judicial

 administrative interests and relevant equitable concerns.” Ebrahimi, 114 F.3d at 165-

 66. “As these factors will often suggest contrary conclusions, Rule 54(b) certifications

 ‘must be reserved for the unusual case in which the costs and risks of multiplying the

 number of proceedings and of overcrowding the appellate docket are outbalanced by

 [the] pressing needs of the litigants for an early and separate judgment as to some

 claims or parties.’” Id. (quoting Morrison-Knudsen, 655 F.2d at 965). Given that Crosby

 presents no serious equities in favor of immediate appeal, however, the factors easily

 balance against Rule 54(b) certification here.

        A. Crosby Has Not Established that Judicial Administrative Interests Favor
           Rule 54(b) Certification.

        The Court must also consider judicial administrative interests when

 determining whether there is any just reason for delaying the appeal of the APA

 claims. Consideration of this “factor is necessary to ensure that [the] application of the

 Rule effectively ‘preserves the historic federal policy against piecemeal appeals.’” Id.

 at 166 (quoting Mackey, 351 U.S. at 438). “The federal concept of sound judicial

 administration and efficiency will not normally be furthered by ‘hav[ing] piecemeal

 appeals that require two (or more) three-judge panels to familiarize themselves with a

 given case, instead of having the trial judge, who sits alone and is intimately familiar

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 with the whole case, revisit a portion of the case if he or she has erred in part and that

 portion is overturned following the adjudication of the whole case.’” Id. at 167

 (quoting Harriscom Svenska AB v. Harris Corp., 947 F.2d 627, 631 (2d Cir. 1991)).

         In analyzing this factor, the Eleventh Circuit has considered whether it is “more

 likely that allowing [a] partial appeal would require a greater overall expenditure of

 judicial resources.” Id. This includes whether “the same operative facts serve as the

 basis for each legal theory advanced by [a plaintiff]” and whether there is any similarity

 in “the relief sought in the dismissed and retained claims[.]” Id. 12 Both considerations

 indicate that a partial appeal would require a greater overall expenditure of judicial

 resources.

         First, many of the same operative facts underlie each legal theory. As the

 Honorable Judge Marcia Morales Howard explained as part of a claim-splitting

 analysis, a plaintiff’s “causes of action under RFRA and the First Amendment”

 seeking an exemption from the vaccination directive and an APA challenge to the

 vaccination directive itself involve the same “operative facts—the decision of the


         12
            There is overlap between the factors considered here and those considered when determining
 whether an entire “claim” has been adjudicated for purposes of Rule 54(b) as part of the first step of
 the two-step Rule 54(b) analysis. Compare, e.g., In re Se. Banking Corp., 69 F.3d at 1547 (“Claims are
 separable” under the first step “if ‘different sorts of relief’ are sought”) (citation omitted), and, Lloyd
 Noland Found., 483 F.3d at 780 (“[A] partially adjudicated ‘claim’ cannot serve as the basis for a Rule
 54(b) certification; even if a district court has adjudicated one count of a complaint, but another count
 seeks substantially similar relief[.]”) (citation omitted), with, Ebrahimi, 114 F.3d at 167 (considering
 “the similarity of the relief sought in the dismissed and retained claims” in determining that “the
 interests of judicial administration would not be served by allowing immediate appeal”). Although
 redundant, this overlap is not surprising. After all, “[t]he purpose of Rule 54(b) is to codify the historic
 practice of ‘prohibit[ing] piecemeal disposition of litigation and permitting appeals only from final
 judgments’” and the Eleventh Circuit has explained that courts “keep in mind the purpose and
 practical implications of Rule 54(b)” when considering “whether claims are separate[.]” In re Se.
 Banking Corp., 69 F.3d at 1547-48.

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 Secretary of Defense to impose the Vaccine Mandate and the [Military Service’s]

 enforcement of the Vaccine Mandate.” See Bongiovanni v. Austin, No. 3:22-cv-237, 2022

 WL 1642158, at *9 (M.D. Fla. May 24, 2022); see also Tolson v. United States, 732 F.2d

 998, 1001 (D.C. Cir. 1984) (“When alleged ‘claims [are] so closely related that they

 would fall afoul of the rule against splitting claims if brought separately’” “they do not

 qualify as ‘separate’ claims within the meaning of Rule 54(b).”) (quoting Amalgamated

 Meat Cutters, 642 F.2d at 1071). Each of Crosby’s claims “is ultimately premised upon”

 the same ultimate “contention[,]” see Ebrahimi, 114 F.3d at 167; namely, that the Army

 should retain him as a Soldier subject to deployment even though he does not meet

 the immunization requirements that make up a part of the military’s fitness for duty

 standards. If the Court certified the dismissed claims under Rule 54(b), the Eleventh

 Circuit would have to address these same underlying operative background facts at

 least twice.

        Second, as discussed above, see supra at 11-13, there is certainly similarity in the

 relief sought in the dismissed and remaining claims. Success on the relief requested in

 the Amended Complaint associated with the remaining claims would moot Crosby’s

 interest in the APA claims.

        Crosby’s arguments to the contrary fail. First, he argues that the claims “are not

 legally intertwined because the Religious Liberty Claims arise under RFRA and the

 First Amendment, which have different legal elements, standards of review, and

 requirements for proof” than the APA claims. ECF No. 69 at 14. Similarly, he

 contends that there is no risk that certification would require the Court to address the

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 same legal issues twice. ECF No. 69 at 15-16. But the issue is whether the Court of

 Appeals “would be required to relearn [many of] the same set of facts if and when the

 case returned to [it] on appeal from the district court’s final judgment” on the

 remaining claims, not whether the legal issues involved in the dismissed and remaining

 claims are analyzed differently. See Ebrahimi, 114 F.3d at 167. Given that the claims

 all arise from Crosby’s noncompliance with the requirements of the military’s

 immunization program, the claims are factually intertwined. See Bongiovanni, 2022

 WL 1642158, at *9. “[M]ere variations of legal theory do not constitute separate

 claims” at all. Amalgamated Meat Cutters, 642 F.2d at 1071. “Alternative theories of

 recovery based on the same factual situation are but a single claim, not multiple ones.”

 Sussex Drug Prods. v. Kanasco, Ltd., 920 F.2d 1150, 1154 (3d Cir. 1990).

       Indeed, the only case that Crosby cites in support of his argument that where

 some claims require less factual development in the district court than others, those

 claims should be certified under Rule 54(b), ECF No. 69 at 15, is one in which the

 district court found that “[f]urther proceedings on [the remaining counts] in [district

 court] will not moot the need for appellate review of the Court’s [order on the

 dismissed] counts[,]” Kapila v. Grant Thornton, LLP, No. 14-61194-Civ, 2018 WL

 654466, at *2 (S.D. Fla. Jan. 31, 2018). As explained above, that key element is not

 present here given the prospective relief Crosby seeks.




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       B. Crosby Has Not Established that the Relevant Equities Favor Rule 54(b)
          Certification.

       Equitable considerations do not justify Rule 54(b) certification. Factors

 considered in weighing equities in this area include whether the party seeking Rule

 54(b) certification has established that the case is “exceptional” or “that there would

 be any unusual hardship in requiring [him] to await the disposition of the entire case

 before obtaining appellate review.” See Ebrahimi, 114 F.3d at 168.

       Crosby argues that this case is exceptional because Justice Kavanaugh’s

 concurring opinion in Austin v. U.S. Navy SEALs 1-26, 142 S. Ct. 1301 (2022) is

 “wrong.” See ECF No. 69 at 17. But he cites no case for the proposition that a Rule

 54(b) certification is justified by his desire to vindicate a view that a Supreme Court

 Justice’s opinion is incorrect. And even if he could, Rule 54(b) certification would

 remain unjustified here because Justice Kavanaugh’s persuasive opinion addressed

 RFRA claims—one of Crosby’s claims that remain in this case—not one of the claims

 that have been dismissed.

       Crosby contends that awaiting a final disposition on all his claims may take time

 and that if he is eventually “successful on appeal” on the dismissed APA claims “after

 perhaps 12-18 months, on remand this Court and the Plaintiff will essentially have to

 start over at the beginning.” ECF No. 69 at 13-14. But that is purely speculative and,

 if anything, the timing and efficiency considerations cut the other way. It is possible if

 not more likely that this Court will complete consideration of dispositive motions

 addressing the remaining claims before an appeal on the APA claims is complete,


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 potentially resulting in a second overlapping appeal on the same underlying policy that

 could obviate any need for the first appeal. Moreover, “[t]o entertain an early appeal

 just because reversal of a ruling made by the district court might transpire and might

 expedite a particular appellant’s case would defoliate Rule 54(b)’s protective copse.”

 Spiegel, 843 F.2d at 46. “This would leave the way clear for the four horsemen of too

 easily available piecemeal appellate review: congestion, duplication, delay, and added

 expenses.” Id. Crosby raises no equities that outweigh the costs and risks of

 multiplying the number of proceedings and overcrowding the appellate docket.

                                    CONCLUSION

       For the foregoing reasons, Crosby’s motion for entry of final judgment and Rule

 54(b) certification should be denied.

 Dated: August 30, 2022                     Respectfully submitted,

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